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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-cv-25203-GOODMAN


 In re NCL (BAHAMAS) LTD.,

       Defendant.
 ______________________________________/

                SETTLEMENT CONFERENCE DISCOVERY ORDER

        I held status conferences on June 3 and 10, 2019, regarding a settlement conference

 now scheduled for July 24, 2019. At the most recent status conference counsel agreed that

 Plaintiff will produce certain damages-related discovery in advance of that settlement

 conference, which the parties agree will be particularly helpful to their efforts to reach a

 full compromise of this lawsuit. At my direction, counsel thereafter met and agreed that I

 enter the following order regarding that discovery. Accordingly, it is hereby ORDERED

 AND ADJUDGED as follows:

        1.     Defendant served the following discovery requests to date (collectively,

 “Discovery Requests”): (a) April 15, 2019 First Omnibus Request for Production to

 Plaintiffs (“Request for Production”), (b) May 1, 2019 Medicare/Medicaid Request for

 Production to Plaintiffs (“Medicare Request for Production”), (c) May 1, 2019

 Medicare/Medicaid Interrogatories to Plaintiffs (“Medicare Interrogatories”), (d) June 3,

 2019 First Interrogatories to Plaintiffs (“Interrogatories”). The Discovery Requests consist

 of requests relating to both liability and damages. The Court is advised that Defendant
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 served more than 25 total interrogatories pursuant to the agreement of all of the parties,

 some of which apply only to Plaintiffs eligible for Medicare or Medicaid.

        2.     The Court notes that Plaintiffs are currently on an agreed-to extension of time

 to respond to the Discovery Requests, and that this does not reflect a failure on their part

 to meet their discovery obligations. The Court now directs Plaintiffs, as a condition to the

 July 24, 2019 settlement conference, to provide Defendant with responses and responsive

 documents to the following “Damages Discovery”, and to do so no later than July 11, 2019:

               a. Requests for Production: 1-11, 13, 19, 26-27, 30-33, and 35.

               b. Medicare Request for Production: If applicable to the particular Plaintiff,

                  they shall provide this information.

               c. Medicare Interrogatories: If applicable to the particular Plaintiff, they

                  shall provide this information.

               d. Interrogatories: 1, 7-14, 16-17, and 21.

        3.     By agreeing to Plaintiffs’ partial responses to Defendant’s Discovery

 Requests, for the purpose of facilitating settlement, Defendant has not waived its right to

 Plaintiffs’ later full response to the Discovery Requests, nor to move to compel the same.

 Absent further order of the Court, Defendant shall have until 45 days after the July 24,

 2019 settlement conference to move to compel Plaintiffs to serve more complete responses

 to the Discovery Requests. Before any such motion, the parties shall first meet their

 obligation to meet and confer, and attempt to reach agreement regarding Plaintiffs’ further

 response to the Discovery Requests.




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         DONE AND ORDERED in chambers in Miami, Florida, this 14th day of June,

 2019.

                                      ____________________________________
                                      CHRIS McALILEY
                                      UNITED STATES MAGISTRATE JUDGE


 cc:     The Honorable Jonathan Goodman
         All counsel of record




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